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          IN THE   UNITED    STATES   DISTRICT    COURT    FOR THE
                    SOUTHERN DISTRICT       OF   GEORGIA
                            AUGUSTA DIVISION




EDUARDO JUAREZ GALLEGOS,               *
                                       •


     Petitioner,                       *
                                       *     CV   116-127
     v.                                *     (Formerly CR 113-220)

UNITED STATES OF AMERICA,

     Respondent.                       *




                                 ORDER




     On September 21, 2016, the United States Magistrate Judge

issued a Report and Recommendation recommending dismissal of

Petitioner's pro se motion under 28 U.S.C.                § 2255 to vacate,

set aside,    or correct his sentence in this captioned case.

The Magistrate Judge concluded that the motion was untimely.

     This Court adopted the Report and Recommendation,                   over

Petitioner's    objections,       on October 21,      2016.        Presently,

Petitioner has filed a motion for reconsideration.                 Petitioner

insists that this Court should equitably toll the statute of

limitations    because      of   "extreme   physical      pain   and   mental

agony."     (Doc. 7, at 1.)      Petitioner attaches certain medical

records to document his claim.

     This     Court    has       already    considered       and     rejected

Petitioner's supplication in this regard when it adopted the

Report and Recommendation.          (See Order of Oct. 21, 2016, Doc.
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5.)   Petitioner's        latest   filing still    does   not    create   the

"extraordinary circumstances" necessary to justify equitable

tolling.     As     the   Court    previously   explained,      his   medical

condition did not prevent him from petitioning for relief in

the Supreme Court of Georgia nor from filing two motions to

reduce sentence in the months prior to the expiration of the

limitation period.        Moreover, the Court notes that the merits

of at least two of his claims, his Johnson claim and his claim

for a reduction of sentence under Amendment 782 to the United

States Sentencing Guidelines,          have already been found to be

without merit.

      Upon the foregoing, this Court concludes that equitable

tolling is not appropriate in this case and therefore DENIES

Petitioner's motion for reconsideration (doc.             7).

      ORDER ENTERED at Augusta, Georgia, this             or^          day of
January,   2 017.




                                       HOriQS^^E J. R£N6A]i~HALL <
                                       UNITED! STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
